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                                                                          FEB 262013
                 IN THE UNITED STATES DISTRlCT COURT
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                                                                                Helena
                      FOR THE DISTRICT OF MONTANA

                            GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                      Cause No. CR 06-39-GF-SEH

             PlaintifflRespondent,

      vs.                                      ORDER

KELLY MORTENSON,

             DefendantIMovant.


                                INTRODUCTION

      On September 14, 2012, DefendantIMovant Kelly Mortenson, a federal

prisoner appearing pro se, moved to vacate, set aside, or correct sentence under 28

U.S.C. § 2255. Mortenson has also moved for the appointment of counsel to

represent her. Neither motion has merit.

                                  DISCUSSION

      Kelly Mortenson will be generally referred to by her last name. Her first name

will be used ifnecessary to distinguish her from her husband and co-defendant, Shaun

Mortenson.

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                              I. Preliminary Screening

      The motion is subject to preliminary review to determine whether "the motion

and the files and records ofthe case conclusively show that the prisoner is entitled to

no relief." 28 U.S.C. § 2255(b); see also Rule 4(b), Rules Governing Section 2255

Proceedings for the United States District Courts. A petitioner "who is able to state

facts showing a real possibility ofconstitutional error should survive Rule 4 review."

Calderon v. United States Dist. Court, 98 F.3d 1102, 1109 (9th Cir. 1996)

("Nicolaus") (Schroeder, C.l., concurring) (referring to Rules Governing § 2254

Cases). "[I]t is the duty ofthe court to screen out frivolous applications and eliminate

the burden that would be placed on the respondent by ordering an unnecessary

answer." Advisory Committee Note (1976), Rule 4, Rules Governing § 2254 Cases,

cited in Advisory Committee Note (1976), Rule 4, Rules Governing § 2255

Proceedings. The required review has been made.

                                   II. Background

      The facts underlying this case first came to the attention of authorities through

a domestic dispute. Mortenson's husband Shaun reported to law enforcement that

Kelly was attempting to blackmail him by threatening to take his collection ofchild

pornography to the county attorney. When officers arrived on scene, both Kelly and

Shaun reported that certain binders contained child pornography. Officers obtained

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a warrant for the residences where Kelly and Shaun had recently lived together based

on their statements, some of the binders, and other evidence. The warrant was

executed. Officers seized additional binders, two computers, and journals and

notebooks containing pornographic stories and images, some constituting child

pornography.

      On April 21, 2006, Mortenson was charged with knowing possession ofchild

pornography in the form of "computer files or printed images," a violation of 18

U.S.C. § 2252A(a)(5)(B). Indictment (doc. 1) at 1-2. Jury trial commenced on April

17,2007. Evidence admitted at trial showed that Kelly knew Shaun maintained a

large collection ofchild pornography in the presence ofthe couple's two young girls.

There was also evidence showing that Kelly participated with Shaun in downloading,

printing, and manipulating images constituting child pornography. E.g., 1 Trial Tr.

(doc. 294) at 81 :4-13, 279:14-283 :23; 2 Trial Tr. (doc. 295)at 545: 19-546: 18; 3 Trial

Tr. (doc. 296) at 686: 16-687: 19. Following four days oftrial, on April 20, 2007, the

jury returned a verdict of guilty. Verdict (doc. 219) at 1.

      A presentence report was prepared. The base offense level was 18. Upward

adjustments were imposed for possession ofmaterial involving a person under the age

of 12, the portrayal of sadistic or masochistic conduct, use of a computer, and 600 or

more images. The adjusted offense level was 31. With a criminal history category


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of!, the advisory guideline range was 108-135 months. Sentencing Tr. (doc. 299) at

24:3-16; Presentence Report 'If'\[ 20-35.     On August 30, 2007, Mortenson was

sentenced to serve the statutory maximum term often years in prison, to be followed

by a five-year term of supervised release. Sentencing Tr. at 38:22-39: 19; Judgment

(doc. 268) at 2-3.

      Mortenson appealed, asserting error in the admission of certain evidence and

challenging her sentence. On January 5, 2009, the Court ofAppeals affirmed. Order

at 4, United States v. Mortenson, No. 07-30355 (9th Cir. Jan. 5, 2009) (unpublished

memo disp.)(doc. 323). A petition for writ of certiorari was filed in the United States

Supreme Court. It was denied on May 4,2009. Mortenson v. United States, _ U.S.

_, 129 S. Ct. 2173 (2009).

      Mortenson's conviction became final on May 4, 2009. Gonzalez v. Thaler,_

U.S. -,132 S. Ct. 641, 653 (2012). She had one year from that date to file a § 2255

motion. 28 U.S.C. § 2255(1)( 1). She signed the motion and deposited it in the prison

mail system on August 28,2012, Mot. § 2255 (doc. 338) at 20; Houston v. Lack, 487

U.S. 266,270-71 (1988) (establishing prison mailbox rule).

                             III. Claims and Analysis

      Mortenson's motion is likely time-barred. However, it would not be possible

to resolve that issue without an evidentiary hearing to determine the timing and extent

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of her access to her own legal materials and to other legal resources. Resp. to Order

(doc. 341) at 1; see also, e.g., Ramirez v. Yates, 571 F.3d 993, 998 (9th Cir. 2009);

Espinoza-Matthews v. California, 432 F.3d 1021, 1027-28 (9th Cir. 2005).

Consequently, the merits of her claims are considered here, irrespective of the

probable time bar.

      A. First Amendment

      Mortenson claims that she was convicted in violation ofthe First Amendment.

Mot. § 2255 at 4-5. However, she was not convicted for possessing binders or for

writing stories in notebooks. She was convicted because she knowingly possessed

child pornography. Images Kelly or ShaUll downloaded from the internet were

printed and placed in the binders.       Some of those images constituted child

pornography. Kelly personally exercised dominion and control over those images.

E.g., 3 Trial Tr. at 686:16-687:19. Child pornography is not protected by the First

Amendment. New York v. Ferber, 458 U.S. 747, 764 (1982). This claim is denied.

      B. Fourth Amendment

      Mortenson also claims that she was convicted in violation of the Fourth

Amendment. Mot. § 2255 at 6-7. The binders, notebooks, and computers in which

the images were found were indeed protected by the Fourth Amendment, but the

Fourth Amendment was not violated. Mortenson and her companion Michael Gray,

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after claiming they intended to take some of the binders to the county attorney,

voluntarily relinquished them to police.       I Trial Tr. (doc. 294) at 45:18-48:24,

188:25-193: 18, 194:11-13, 196:4-198:23. Other items, including the computers, the

images recorded on them, and journals, pictures, and notebooks, were seized by

execution ofa valid search warrant issued in compliance with the Fourth Amendment.

See, e.g., 1 Trial Tr. at 225:4-21, 227:4-228:25, 244:25-254:15; 2 Trial Tr. at 3 13:11­

320: 11. This claim is denied.

      C. Tenth Amendment

      Mortenson alleges that her sentence violates the Tenth Amendment. Mot. §

2255 at 8-11; see also id. at 14; Mot. for Counsel (doc. 338-4) at 2 ~ IV. "[T]he

Tenth Amendment does not bar Congress from enacting criminal statutes." United

States v. Geiger, 263 F.3d 1034, 1040 (9th Cir. 2001V Congress criminalizes the

possession of child pornography by its authority under the Commerce Clause. U.S.

Const. Art. II, § 9 (Commerce Clause); see also U.S. Const. Art. VI, cl. 2 (Supremacy

Clause); United States v. McCalla, 545 F.3d 750, 756 (9th Cir. 2008). Here, the

jurisdictional element was addressed by the parties' stipulation that the images


         Mortenson cites Bond v. United States,
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                                                "- U.S. ­ ,131 S. Ct. 2355
(20 II). The case stands for the proposition that an individual convicted under a
federal statute has standing to challenge her conviction as violative of the Tenth
Amendment. Id. at 2367. But the Bond Court "expresse[d] no view on the merits
ofthat argument," id., and does not change the analysis here.
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traveled in interstate commerce. Trial Stipulation (doc. 208) at 1-2; United States v.

Wright, 625 F.3d 583, 600 (9th Cir. 2010) (interpreting 18 U.S.c. § 2252A(a)(I)).

The jury was properly instructed on the element. Jury Instructions (doc. 223) at 18.

"IfCongress can regulate the criminal behavior at issue under the Commerce Clause

- which it can here - then a federal court can hear the prosecution. The state court's

concurrent jurisdiction to prosecute does not bar this." Geiger, 263 F.3d at 1040-41.

This claim is denied.

      D. Ineffective Assistance of Counsel and Miscarriage of Justice

      Mortenson makes reference to the services of two attorneys, Eric Olson and

Carl Jensen, who did not represent her in this Court. Mot. § 2255 at 12-13. Further,

she alleges no action or inaction on their part that constitutes deficient performance,

nor does she explain how their performance prejudiced her.              Strickland v.

Washington, 466 U.S. 668, 687-88, 694 (1984). She alleges no facts that comprise

a miscarriage ofjustice. This claim is denied.

      E. Two-Point Reduction for Lack of Sale or Distribution

      The two-point reduction in the advisory guideline calculation to which

Mortenson refers, Mot. § 2255 at 3, applies only ifthe defendant was not convicted

under 18 U.S.C. § 2252A(a)(5). See U.S.S.G. § 2G2.2(a), (b)(I). Mortenson was

convicted under 18 U.S.C. § 2252A(a)(5)(B). Judgment at 1. This claim is denied.

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      F. Coercion, Duress, and Lack of Propensity

      Mortenson does not expressly set forth coercion, duress and lack ofpropensity

as grounds for relief from her conviction or sentence. They nevertheless pervade her

motion to the extent that it is reasonable to address them separately. E.g., Mot. §

2255 at 2-3, 13, 16.

      Mortenson was neither convicted nor punished for "propensity" or for behavior

in which Shaun forced her to engage. She failed to produce any evidence that Shaun

at any time made any threat ofdeath or serious bodily injury, that she feared such, or

that she lacked any reasonable opportunity to escape the threat. Proof of all three

would be required to sustain a defense. Her own allegations, including Dr. Scolatti's

report, fell far short of the legal standards required. See 9th Cir. Jury Instr. 6.5,6.6

(2003) (defining coercion, duress, and compulsion). Her rhetorical question, "How

is it possible that the court could ignore the conclusion of a forensic psychologist?",

Mot. § 2255 at 13, exhibits a refusal to recognize the offense committed. A forensic

psychologist does not focus on the legal elements of a crime. His opinion could

establish neither guilt nor innocence. Cf Scolatti Report (doc. 246) at 28. Jurors

listened to the evidence and arguments of each side and decided whether the

defendant was guilty or not gUilty. They convicted her. The evidence amply

supported their verdict.

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      Any claim that Mortenson is innocent, that she had a legal excuse such as

coercion, duress, or compulsion, or that she should not have been convicted because

she lacked "propensity" for child pornography is without merit. It is denied.

                          IV. Certificate of Appealability

      "The district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant." Rule 1 I (a), Rules Governing § 2255

Proceedings. A COA should issue as to those claims on which the petitioner makes

"a substantial showing of the denial of a constitutional right."         28 U.S.C. §

2253(c)(2). The standard is satisfied if "jurists of reason could disagree with the

district court's resolution of [the] constitutional claims" or "conclude the issues

presented are adequate to deserve encouragement to proceed further." Miller-El v.

Cockrell, 537 U.S. 322, 327 (2003) (citing Slack v. McDaniel, 529 U.S. 473,484

(2000».

      None of Mortenson's claims meets the threshold. Child pornography is not

protected by the First Amendment. Evidence was either voluntarily given to police

or seized by valid warrant. The Fourth Amendment was not violated. 18 U.S.c. §

2252A(a)(5) does not exceed Congress's powers under the Commerce Clause and

does not violate the Tenth Amendment. Mortenson complains ofthe services oftwo

attorneys who not only did not represent her in this Court but did not do anything that

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fell outside the wide range of reasonable professional assistance. There was no

prosecutorial misconduct. U.S.S.G. § 2G2.2(a) does not entitle Mortenson to a two­

point reduction under U.S.s.G. § 2G2.2(b)(1). Finally, Mortenson's continuing

complaint that she was compelled to knowingly possess child pornography by her co­

defendant husband flies in the face ofthe facts. She has never articulated facts that

remotely approach the elements of a viable defense of coercion, duress, or

compulsion. Nor would her alleged "lack ofpropensity" be a defense.

      Mortenson fails to make any showing that she was deprived ofa constitutional

right. There is no reason to encourage further proceedings. A COA is not warranted.

      Accordingly, IT IS HEREBY ORDERED as follows:

      L Mortenson's Motion for Appointment ofCounsel (doc. 338-4) is DENIED;

      2. Mortenson's motion to vacate, set aside, or correct the sentence under 28

U.S.C. § 2255 (doc. 338» is DENIED;

      3. A certificate of appealability is DENIED. The Clerk of Court shall

immediately process the appeal if Mortenson files a Notice of Appeal;

      4. The Clerk ofCourt shall ensure that all pending motions in this case and in




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CV 12-76-GF-SEH are terminated and shall close the civil file by entering judgment

in favor of the United S~ and against Mortenson.

      DATED this   c2.f::i day of February, 2013.


                                      United States District Court




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